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JUL 26 2001 DJ

AT SEATTLE
CLERK lS. DISTRICT COURT
By WESTERN DISTRICT OF WASHINGTON

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

MUIO TRAN, KIM-CUC NGUYEN, NHU
HUU TRAN, a minor child, LOAN HUU
TRAN, a minor child, No, C01-1081-Z

Plaintiffs, ANSWER

v

THE CITY OF SEATTLE, a local municipal
corporation; PAUL SCHELL, mayor of the
City of Seattle; GIL KERLIOWSKI, Police
Chief of the City of Seattle, KIRK M
WALDORF, # 6311; ALVIN F. LITTLE, #
4843; JOHN S. VRADENBURG, # 5853,
NICHOLUS J BAUER, # 5824; ROBERT E
WHITE, # 5484, ROBERTO V. SABAY, #
5472, EUGENE FOSTER, # 5844,
MICHAEL R. GRIFFIN, # 5875; DANIEL J
BESTE, # 3295; KENNETHE HICKS, #
4559: TRUNG H. NGUYEN, # 5999,
ROBERT R. CIERLEY, #6216, KATHLEEN
A. GRAVES, # 6232, ARRON D.
SAUSAMAN, # 6089, TODD C HARRIS, #
6221; JOHNEY STEVENS, # 5072, BRUCE
A. WIND, #3995, DOUGLAS A. KITTS, #
4744, each individually and each tn their
official employment capacity as Seatile

Police Officers, YRRURY 0 11 ONE 0)
Defendants, | IMNIRT IRV IN (HIB) 0 9 HS

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I. ANSWER

Defendants answer as follows:

A. Allegations contained in the document entitled "Parties."

1 Paragraphs 1.1-1 4 are denied for lack of information

2, To the extent that paragraph 1.5 contains any allegation, such allegations are
denied.

3. Answering paragraph 1.6, defendants admit that the City of Seattie ("the
City”) is a local municipality and that the Seattle Police Department is a city agency.
Defendants deny all remaining allegations.

4 Answering paragraph 17, defendants admit that Mayor Paul Schell, at all
times relevant, is the duly elected mayor of the City and that Mayor Schell has fulfilled his
responsibilities acting as such Defendant further admit that plaintiffs have sued Mayor
Scheil in his official capacity, but deny that the claims are legitimate. Defendants deny all
remaining allegations.

5. Answering paragraph 1 8, Defendants admit that Gil Kerlikowski is presently
the Police Chief of the Seattle Police Department and that plaintifis have sued him in his
official capacity. Defendants deny all remaining allegations. Defendants further deny that
Chief Kerlikowski was acting chief of police during the time frame alleged in this complaint

6 Answering paragraph 19, defendants admit that plaintiffs have sued the
individuals named in this paragraph in their official capacites Defendants further admit
that these officers may have been employed by the Seattle Police Department during the

time frame of the incident underlying this complaint and were actin within the course and

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scope of their respective employment as police officers. Defendants deny ali remaining
allegations.
B. Allegations contained in the document entitled "Jurisdiction and Venue."

1 Answering Section 1, entitled “Jurisdiction,” defendants deny that the events
alleged occurred, but admit that junsdiction would be proper.

2 Answering Section Ii, entitled "Venue," defendants deny that the events
alleged occurred, but admit that venue would be proper.

c. Allegations contained in the document entitled "Factual! Allegations."

1 Answering Section |, entitled "Factual Allegations," defendants admit that the
plaintiff refers to municipal officials and employees collectively as the City in their
complaint. Defendants deny all remaining allegations, including any allegations contained
in the heading.

2. Answering Section |i, entitled "Retalation against People who Engage in
Constitutionally[-|Protected Speech or Conduct,” defendants deny ali allegations, including
any allegations contained in the heading

3 Answering Section lil, entitled "Summary Punishment of Citizens who Offend
Police Officers,“ defendants deny paragraphs 1 and 2 To the extent that the third
paragraph or the heading contains any allegations against them, defendants deny these
allegations as well

4 Answering Section IV, entitled "Initiation of False and Malicious Prosecutions
to Cover-Up Police Misconduct," and Section V, entitled "Code of Silence,” defendants
deny ali allegations, including any allegations contained in the headings

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D.  Aliegations contained in the document entitled "Compiaint: Violation of
Plaintiffs[} First, Fourth, Eighth, Thirteenth, Fourteenth Federal Constitutional
Rights; Assault; False Arrest; False Imprisonment; International [sic] and
Negligent Infliction of Emotional Distress and Violation of Miranda."

1 Answering paragraph 1.1, defendants admit that Seattle Police Officers Kirk
Waldorf's and Alvin Little's investigation of a hit and run accident brought them to a house
where plaintiffs were located Defendants deny for lack of information whether the house
was plaintiffs’ residence. Defendants deny all remaining allegations

2. Answering paragraph 1.2, defendants admit that Mr Tran answered the door
and that Officers Little and Waldorf asked Mr Tran for permission to enter the house
Defendants deny ail remaining allegations for tack of information.

3. Answering paragraph 1 3, defendants admit that Mr Tran gave Officers Little
and Waldorf permission to enter the house and that one of the officers asked Mr Tran 'f he
had a son and, if so, where that son was then Defendants deny all remaining allegations

4 Answering paragraph 1.4, defendants admit that the son did come downstairs
to talk with the police officers at Mr Tran's prompting Defendants deny for lack of
information that the home belonged to Kim-Cuc Nguyen Defendants deny all remaining
allegations

5 Answering paragraph 1.5 - 1.9, defendants deny the same.

6. Answering paragraph 110, defendants admit that Muio Tran was placed

under arrest for violating several state and municipal laws Defendants admit that Muio

Tran did not require any form of medical treatment. Defendants deny all remaining

 

allegations
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7. Answering paragraph 1.11, the first and last sentences appear to be
fragments and are vague, ambiguous, and unintelligible. Defendants therefore deny the
same for lack of information Defendants admit that several Seattle Police Officers
responded to calls for back up. Whether these officers are named in this lawsuit is
presently unknown. Defendants therefore deny any allegation to this effect for lack of
information Defendants deny any remaining allegations

8. Answering paragraphs 1 12 - 1 22, defendants deny the same

9. Answering the section entitied “Police-Citizenship Encounter,” the first
paragraph {fs vague, ambiguous, and unintelligible; defendants therefore deny it for lack of
information. Defendants deny ali allegations contained in the second and third paragraphs
of this section as well as any allegation contained in the heading

10. Answering the section entitled "False Arrest/Faise Imprisonment," defendants
deny all allegations contained in the first four paragraphs and any allegation that may be
contained in the heading. Defendants also deny the last paragraph tn this section To the
extent that the remaining paragraphs contain any allegations against them, defendants
deny the same

11 Answering the section entitied "Negligence in Training, Supervising, and
Discipline," defendants deny all allegations contained therein, including any allegation that
may be contained in the heading

12. Answering the section entitled "Malicious Prosecution,” defendants admit that

Muio Tran and Kim-Cuc Nguyen were arrested with probable cause. Defendants deny for

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lack of information whether the house was plaintiffs home. Defendants deny all remaining
allegations, including those that may be contained in the heading

13 Answering the section entitled "Intentional Infliction of Emotional Distress,”
defendants admit that two of the plaintiffs were arrested with probable cause. Defendants
deny for lack of information whether the house was plaintiffs home. Defendants deny ail
remaining allegations, including those that may be contained in the heading

14. Answering the section entitled "Civil Rights Title US C § 1983," defendants
deny for lack of information that plaintifis were at their home, that plaintiffs were “enjoying”
anything, and that plaintiffs are free citizens of the United States of America Defendants
admit that Officers Waldorf and Little came to where the plaintiffs were located.
Defendants deny all remaining allegations, including those that may be contained in the
heading.

15. Answering the sections entitled "Proximate Cause of Action," "Color of State
Law,” "First Cause of Action,” "Second Cause of Action," “Third Cause of Action,” "Fourth
Cause of Action,” "Fdth Cause of Action,” "Sixth Cause of Action,” "Seventh Cause of
Action," "Eighth Cause of Action, " "Ninth Cause of Action," "Tenth Cause of Action, "
“Eleventh Cause of Action,” and "Relief,” defendants deny all allegations contained therein,
including those that may be contained in the heading and subheadings.

16 Defendants admit that plaintiffs have demanded tral by jury

N. AFFIRMATIVE DEFENSES

By way of further answer and affirmative defense, defendants allege as follows:

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1. Plainitffs Nhu Huu Tran and Loan Huu Tran are minor children and do not
have capacity to sue.
2 Plainitffs have failed to satisfy a condition precedent by failing to file a claim

with the City as required by Seattle Municipal Code 5.24.005 and RCW 4 96 020.

3 Plainitffs' process and service of process ts insufficient as to all defendants.

4. This action is premature.

5 Plaintiffs failed to allege a claim against any defendant upon which relief can
be granted.

6. individual defendants were, at all relevant times, acting in good faith and

working within the course and scope of their duties, and with a reasonable belief that their
actions were lawful and proper. They are therefore entitled to absolute and/or qualified
and/or discretionary immunity.

7. if plaintiffs sustained any injuries or damages, which defendants categorically
deny, those injuries or damages were caused or contributed to by others than the named
defendants over whom the defendants have no control and for whom the defendants have
no responsibility. Those claims must therefore be dismissed.

8. If plaintiffs sustained any injures or damages, which defendants categorically
deny, plaintiffs caused or contributed to those injuries or damages as a result of plaintiffs’
contnbutory fault and/or willful and/or wanton misconduct Those claims, in whole or in

part, are therefore barred

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9. If plaintiffs suffered any damages, which is denied, said damages were caused by
their assaulting Officers Little and Waldorf and by ther forcibly resisting arrest 10

Defendants had Just cause for their actions

11 Defendants’ acts were privileged.

12. Plaintiffs bring this suit with unciean hands.

13. This action ts frivolous.

14. Plainitffs have not alleged a claim against the City under 42 U.S C § 1983 for
which relief may be granted

15. Plaintiffs failed to mitigate their damages, if any

lil. PRAYER FOR RELIEF

Having fully answered the allegations contained in plaintiffs’ complaint and
accompanying separate documents, defendants request that the court take the following
action

4. dismiss plaintiffs’ complaint with prejudice,

2. order that plamtiffs' take nothing thereby,

3. fequire plaintiffs' to pay ail of defendants costs, disbursements, and reasonable
attorney fees in defending this action,

4. require plaintiffs to pay all of defendants costs disbursements, and reasonable
attorneys fees incurred in responding the nearly-identical complaint filed and dismissed in
state court under King County Cause Number 01-2-07345-1 SEA pursuant to CR 41;

5 award defendants judgment of dismissal; and

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6 grant defendants such other and further relief in its favor as the court deems just
and equitable.

DATED this 25th day of July, 2001.

a STAFFORD FREY COOPER

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Heather L Carr, WSBA # 29780
Attorneys for Defendants

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CERTIFICATE OF SERVICE
The undersigned certifies under the penalty of perjury according to the laws of the
United States and the State of Washington that on this date | caused to be served in the
manner noted below a copy of this document Defendants’ Answer fo Complaint on the
following individual(s):
Salah A. Kornas, Esq.
Law Office of Salah A Kornas
600 First Avenue, Suite 514
Seattle, WA 98104
[ ] Via Facsimile
[ Ve Mail
[Xj Via Messenger
DATED this 26" day of July, 2001, at Seattle, Washington
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